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 1                                                                   The Honorable Richard A. Jones
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                                UNITED STATES DISTRICT COURT FOR THE
 6
                                  WESTERN DISTRICT OF WASHINGTON
 7                                          AT SEATTLE
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 9
     UNITED STATES OF AMERICA,                         NO. CR20-0086-RAJ
10
                                                       ORDER
                                      Plaintiff,
11
12                         v.

13 JUSTIN ERIN CRITCHELL,
14                                    Defendant.
15
16          THIS COURT having considered the United States’ Motion to Continue Trial, the
17 Defendant’s Opposition, the Government’s Reply, and General Orders 01-20, 13-20 and
18 earlier Orders of the United States District Court for the Western District of Washington
19 addressing measures to reduce the spread and health risks from COVID-19, which is
20 incorporated herein by reference, hereby FINDS as follows:
21          1. In light of the recommendations made by the Centers for Disease Control and
22              Prevention (CDC) and the Departments of Public Health for Seattle and King
23              County regarding social distancing measures required to stop the spread of this
24              disease, it is not possible at this time to proceed with a jury trial in the immediate
25              future.
26          2. Further, because of the recommendations that individuals at higher risk of
27              contracting this disease – including individuals with underlying health conditions,
28              individuals age 60 and older, and individuals who are pregnant – avoid large


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 1              groups of people, at this time, it would be difficult, if not impossible, to get a jury
 2              pool that would represent a fair cross section of the community. Based on the
 3              recommendations, it would also be medically inadvisable to do so.
 4          3. As a result, the failure to grant a continuance of the trial date in this case would
 5              likely result in a miscarriage of justice. Pursuant to 18 U.S.C. § 3161(h)(7)(A),
 6              the ends of justice served by continuing the trial in this case outweigh the best
 7              interest of the public and the defendant to a speedy trial.
 8          IT IS THEREFORE ORDERED that the trial date in this action is STRICKEN.
 9          IT IS FURTHER ORDERED that the Court will conduct an in-person status
10 conference on October 9, 2020 at 9:00 a.m., at which time Defendant will be re-arraigned
11 and the Court will discuss with the parties a date on which the trial can be scheduled and take
12 place without any potential impact on the health of all participants or the community.
13          Finally, IT IS FURTHER ORDERED that the time between the date of this Order and
14 October 5, 2020, is excluded in computing the time within which trial must commence
15 because the ends of justice served by granting this continuance outweigh the best interest of
16 the public and the defendant in a speedy trial, 18 U.S.C. § 3161(h)(7)(A). Failure to grant
17 this continuance would likely make trial impossible and result in a miscarriage of justice, and
18 would deny counsel for the defendant and government counsel the reasonable time necessary
19 for effective preparation, taking into account the exercise of due diligence. Id. §
20 3161(h)(7)(B)(i), (iv).
21          DATED this 17th day of September, 2020.
22
23                                                      A
24                                                      The Honorable Richard A. Jones
25                                                      United States District Judge
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